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14                               UNITED STATES DISTRICT COURT
15                            SOUTHERN DISTRICT OF CALIFORNIA
16   MS. L, et al,,                             Case No. 3:18-cv-0428 DMS MDD
17                    Petitioners-Plaintiffs,   STATUS REPORT REGARDING
                                                EXPANDED MS. L CLASS
18         vs.                                  IDENTIFICATION PLAN
19   U.S. IMMIGRATION AND CUSTOMS
     ENFORCEMENT, et al,
20
21                    Respondents-Defendants.
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 1         In accordance with the Court’s April 25, 2019 Order Following Status Conference,
 2 ECF No. 405, Defendants hereby submit this Status Report Regarding Expanded Ms. L.
 3
   Class Identification Plan, which consists of the attached declaration from Commander
 4
 5 Jonathan White. Commander White will be available during the May 17, 2019 telephonic
 6
     status conference to answer any questions the Court may have.
 7
     DATED: May 16, 2019                  Respectfully submitted,
 8
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 1                               CERTIFICATE OF SERVICE
 2 IT IS HEREBY CERTIFIED THAT:
 3       I, the undersigned, am a citizen of the United States and am at least eighteen years
 4 of age. My business address is Box 868, Ben Franklin Station, Washington DC 20044. I
 5 am not a party to the above-entitled action. I have caused service of the accompanying brief
 6 on all counsel of record, by electronically filing the foregoing with the Clerk of the District
 7 Court using its ECF System, which electronically provides notice.
 8         I declare under penalty of perjury that the foregoing is true and correct.
 9
           DATED: May 16, 2019                     s/ Sarah B. Fabian
10                                                 Sarah B. Fabian
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